FILED

UNITED STATES DISTRICT COURT SEP 1 4 2021
EASTERN DISTRICT OF TENNESSEE

AT GREENEVILLE Clerk, U. S. District Court

Eastern District of Tennessee
Ai Greeneville

UNITED STATES OF AMERICA )
) No. 2:21-CR- q
v. ) JUDGE
) SEALED
JEROMEY DRAKE SANDLIN )
INDICTMENT
COUNT ONE

The Grand Jury charges that, on or about September 16, 2020, within the Eastern District
of Tennessee, the defendant, JEROMEY DRAKE SANDLIN, knowing that he had previously
been convicted in a court of a crime punishable by a term of imprisonment exceeding one year,
did knowingly possess a firearm, namely a Taurus, Model TH9, 9mm pistol, which had been
shipped and transported in interstate commerce.

[18 U.S.C. § 922(g)(1)]

COUNT TWO
The Grand Jury further charges that, on or about September 16, 2020, within the Eastern
District of Tennessee, the defendant, JEROMEY DRAKE SANDLIN, knowing that he had
previously been convicted in a court of a crime punishable by a term of imprisonment exceeding
one year, did knowingly possess ammunition, which had been shipped and transported in
interstate commerce.

[18 U.S.C. § 922(g)(1)]

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Firearm Forfeiture Allegation

1. The allegations contained in Counts One and Two of this Indictment are hereby
realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to Title
18, United States Code, Section 924(d)(1) and Title 28, United States Code, Section 2461(c).

2. Upon conviction of the offense in violation of Title 18, United States Code,
Section 922(g)(1) as set forth in this Indictment, the defendant, JEROMEY DRAKE SANDLIN,
shall forfeit to the United States pursuant to Title 18, United States Code, Section 924(d)(1) and
Title 28, United States Code, Section 2461(c), any firearms and ammunition involved in or used
in the commission of the offense, including but not limited to:

(a) Taurus, Model TH9, 9mm pistol; and

(b) Assorted ammunition.
3. If any of the property described above, as a result of any act or omission of the

defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

C. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided

without difficulty,
the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

2461(c).

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GRAND JURY FOREPERSON

FRANCIS M. HAMILTON III
Acting United States Attorney

 

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